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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                              CASE NO. 9:21-cv-81404-RS

 CHRISTOPHER G. BACHE,

              Plaintiff,

 vs.

 TESLA MOTORS, INC.

              Defendant.
                                                 /

                   TESLA, INC.’S MOTION TO COMPEL
                 ARBITRATION AND STAY PROCEEDINGS
              WITH INCORPORATED MEMORANDUM OF LAW

       Defendant, Tesla, Inc. (“Tesla”), incorrectly identified in Plaintiff’s

 Complaint as Tesla Motors, Inc., hereby moves this Court to issue an Order

 compelling Plaintiff to submit his claim to neutral, binding arbitration before the

 American Arbitration Association (“AAA”), and staying this action pending the

 conclusion of binding arbitration.1 In support of its Motion, Tesla states the

 following:

       1.     Plaintiff, Christopher Bache, alleges that Plaintiff purchased a 2020

 Tesla Model X bearing Vehicle Identification Number 5YJXCBE28LF213960

 (“subject vehicle”) on or about October 28, 2019 for a total sale price of

 1 The FAA “provides two parallel devices for enforcing an arbitration agreement: a stay
 of litigation in any case raising a dispute referable to arbitration, 9 U.S.C. § 3, and an
 affirmative order to engage in arbitration, § 4.” Moses H. Cone Mem’l Hosp. v. Mercury
 Constr. Corp., 460 U.S. 1, 22, (1983).
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 $117,728.37. (Doc. 1-1 at p. 3, ¶ 4-5). Plaintiff commenced this action by filing a

 Complaint in state court in Palm Beach County under the Magnuson-Moss

 Warranty Act (“MMWA”) alleging breach of Tesla’s written New Vehicle Limited

 Warranty (“Warranty”). (Doc. 1-1 at pp. 2-8)

       2.     Tesla timely filed a Notice of Removal to this Court on August 12,

 2021. [Doc. 1].

       3.     Plaintiff originally ordered the subject vehicle on October 10, 2019.

 A copy of the Motor Vehicle Order Agreement is attached as Exhibit “1”. In

 connection with ordering the subject vehicle, Plaintiff willingly agreed to

 arbitrate all claims with Tesla arising from the subject vehicle. Specifically, the

 Motor Vehicle Order Agreement contained an “Agreement to Arbitrate.” See

 Exhibit “1” at p. 3 (agreeing to arbitrate “any dispute arising out of or relating to

 any aspect of the relationship between you and Tesla….”)

       4.     Plaintiff took delivery of the subject vehicle on October 29, 2019. A

 copy of the signed Delivery Declaration is attached hereto as Exhibit “2”. The

 signed Delivery Declaration states that Plaintiff acknowledges taking delivery of

 the vehicle and agrees with the final motor vehicle purchase agreement.

       5.     The Warranty, attached hereto as Exhibit “3”, contains the same

 arbitration provision as the Motor Vehicle Order Agreement. See Exhibit “3” at p.

 13.




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       6.     The parties’ Retail Installment Sales Contract2 attached hereto as

 Exhibit “4” also requires Plaintiff to submit his dispute with Tesla to neutral,

 binding arbitration with the AAA rather than a court. See Exhibit “4” at p. 5

 (agreeing to arbitrate “[a]ny claim or dispute, whether in contract, tort, statute or

 otherwise … which arises out of or relates to your … purchase or condition of this

 vehicle, this contract or any resulting transaction ….”)

       7.     “The Federal Arbitration Act (“FAA”), 9 U.S.C. § 1 et seq., governs

 the enforceability of an arbitration agreement.” Lopez v. Auto Wax of South

 Florida, Inc., 2021 WL 911176 at *2 (Slip Copy) (S.D. Fla. 2021).

       8.     Under the FAA “a written provision in any . . . contract evidencing a

 transaction involving commerce to settle by arbitration a controversy thereafter

 arising out of such contract . . . shall be valid, irrevocable, and enforceable. . . .” 9

 U.S.C. § 2 (2021).

       9.     Florida courts have held that an agreement requiring binding

 arbitration of MMWA claims is enforceable. Krol v. FCA US, LLC, 273 So. 3d

 198, 206 (Fla. 5th DCA 2019), aff’d on other grounds, 46 Fla. L. Weekly S41 (Fla.

 Feb. 18, 2021).

       10.    In addition, the Federal Courts of Appeals have “consistently

 concluded that questions of arbitrability must be addressed with a healthy regard

 for the federal policy favoring arbitration.        Moses H. Cone Mem’l Hosp. v.

 Mercury Constr. Corp.¸460 U.S. 1, 24 (1983).

 2A copy of the Retail Installment Sales Contract is also attached to Plaintiff’s Complaint
 as Exhibit “A”.

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       11.    Indeed, the Supreme Court of the United States has also stated that,

 “[t]he Arbitration Act establishes that, as a matter of federal law, any doubts

 concerning the scope of arbitable issues should be resolved in favor of

 arbitration….” Id. at 24 – 25.

       12.    Here, as evidenced by Exhibits 1 – 4, the parties entered into a valid

 arbitration agreement, where any dispute between Plaintiff and Tesla must be

 submitted to arbitration.

       13.    To fulfill the parties’ agreement and the Warranty terms, the Court

 must stay this action and compel Plaintiff to submit his claim to the AAA for

 binding arbitration.

                        Local Rule 7.1(a)(3)(A) Certification

       On multiple occasions before Tesla’s removal deadline, Tesla’s counsel

 asked Plaintiff’s attorney whether Plaintiff would stipulate to stay the state court

 lawsuit pending AAA arbitration. Tesla never received an answer and removed

 this case to Federal Court when the removal deadline arrived.

       The undersigned certifies, pursuant to Local Rule 7.1(a)(3)(A), that on

 August 18, 2021, he, as Tesla’s counsel, reminded Plaintiff’s counsel of the need

 to stay the present action and submit Plaintiff’s claim to arbitration. Plaintiff’s

 counsel responded on August 19, 2021, by stating that Plaintiff will only agree to

 arbitration if this matter is remanded back to state court.




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       WHEREFORE, Tesla, Inc., requests an Order from the Court compelling

 Plaintiff to submit his claim to neutral, binding arbitration before the AAA and

 staying this action pending the completion of arbitration.

                                    Respectfully submitted,

                                    s/Charles P. Mitchell
                                    CHARLES P. MITCHELL
                                    Florida Bar No. 0818240
                                    Primary E-Mail: cmitchell@rumberger.com
                                    Secondary E-mail: lmesa@rumberger.com
                                    RUMBERGER, KIRK & CALDWELL, P.A.
                                    Post Office Box 1873
                                    Orlando, Florida 32802-1873
                                    Telephone: (407) 872-7300
                                    Telecopier: (407) 841-2133

                                    Attorneys for Tesla, Inc.

                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 19, 2021, I electronically filed the
 foregoing with the Clerk of the Court by using the CM/ECF system. I further
 certify that I served the foregoing document and the notice of electronic filing by
 electronic mail to the following non-CM/ECF participants: Ryan Patrick, Krohn
 & Moss, Ltd., 10 N. Dearborn Street, 3rd Floor, Chicago, Illinois 60602 at
 rpatrick@consumerlawcenter.com (Counsel for Plaintiff) and Theodore F. Greene
 III, Law Offices of Theodore F. Greene III, P. O. Box 720157, Orlando, Florida
 32872-1057 at tfgreene3@msn.com (Of Counsel to Krohn & Moss).

                                    s/Charles P. Mitchell
                                    CHARLES P. MITCHELL
                                    Florida Bar No. 0818240
                                    Primary E-Mail: cmitchell@rumberger.com
                                    Secondary E-mail: lmesa@rumberger.com
                                    RUMBERGER, KIRK & CALDWELL, P.A.
                                    Attorneys for Defendant Tesla, Inc.




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               EXHIBIT 1 TO
            TESLA’S MOTION TO
           COMPEL ARBITRATION
          AND STAY PROCEEDINGS
           WITH INCORPORATED
          MEMORANDUM OF LAW

                    BACHE v. TESLA
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                                                    Motor Vehicle Order Agreement
                                                           Vehicle Conﬁgura on


    Customer                                                Descrip on                                               Price (USD)
    christopher bache
                                                            Model X                                                   $81,000
    +1 (561) 662-                                           Model X Long Range                                         $3,990
                        @yahoo.com
                                                            Pearl White Mul -Coat                                     Included
    Order Number                        RN109649991
                                                            20" Silver Wheels                                         Included
    Order payment                       $2,500
                                                            All Black Premium Interior with Figured Ash Wood Décor    Included
    Order placed with                   10/10/2019
    electronically accepted terms                           Six Seat Interior                                          $6,500

                                                            Autopilot                                                 Included
    Price indicated does not include taxes and
    governmental fees, which will be calculated as          Full Self-Driving Capability                               $6,000
    your delivery date nears. You will be responsible
    for these addi onal taxes and fees.                     Free Unlimited Supercharging                              Included

                                                            Subtotal                                                  $97,490

                                                            Des na on and Documenta on Fee                             $1,200

                                                            Total                                                     $98,690




Motor Vehicle Order Agreement (v. 20190523 en_US)
Tesla, Inc. ©2019                                                                                                          Page 1 of 4
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                                                         Motor Vehicle Order Agreement
                                                                   Terms & Condi ons

Documenta on. Your Motor Vehicle Order Agreement (the “Agreement”) is made up of the following documents:

      1. Vehicle Conﬁgura on: The Vehicle Conﬁgura on describes the vehicle that you conﬁgured and ordered, including pricing (excluding taxes and
         oﬃcial or government fees).

      2. Final Price Sheet: The Final Price Sheet will be provided to you as your delivery date nears. It will include ﬁnal pricing based on your ﬁnal Vehicle
         Conﬁgura on and will include taxes and oﬃcial or governmental fees.

      3. Terms & Condi ons: These Terms & Condi ons are eﬀec ve as of the date you place your order and make your Order Payment (the “Order
         Date”).


Agreement to Purchase. You agree to purchase the vehicle (the “Vehicle”) described in your Vehicle Conﬁgura on from Tesla, Inc. or its aﬃliate (“we,” “us”
or “our”), pursuant to the terms and condi ons of this Agreement. Your Vehicle is priced and conﬁgured based on features and op ons available at the
  me of order and you can conﬁrm availability with a Tesla representa ve. Op ons, features or hardware released a er you place your order may not be
included in or available for your Vehicle. If you are purchasing a used Vehicle, it may exhibit signs of normal wear and tear in line with its respec ve age and
mileage.

Purchase Price, Taxes and Oﬃcial Fees. The purchase price of the Vehicle is indicated in your Vehicle Conﬁgura on. This purchase price does not include
taxes and oﬃcial or government fees, which could amount to up to 10% or more of the Vehicle purchase price. Because these taxes and fees are
constantly changing and will depend on many factors, such as where you register the Vehicle, they will be calculated closer to the me of delivery and
indicated on your Final Price Sheet. You are responsible for paying these addi onal taxes and fees. If you present a check for any payment, we may
process the payment as a normal check transac on, or we may use informa on from your check to make a one- me electronic fund transfer from your
account, in which case your bank account will reﬂect this transac on as an Electronic Fund Transfer.

Order Process; Changes. A er you submit your completed order, we will, if you are purchasing a Customer Ordered Vehicle, begin the process of
producing your vehicle or matching your order to a vehicle, as applicable, and begin preparing and coordina ng your Vehicle delivery. If you are
purchasing a Vehicle from our inventory that is not custom ordered by you, we will, a er you submit your completed order, begin the process of
preparing and coordina ng your Vehicle delivery. Un l your Vehicle is delivered to you, you may cancel your order at any me, in which case you will receive a
full refund of your Order Payment. Un l your Custom Ordered Vehicle enters into produc on or is matched to a vehicle, as applicable, you may make changes
to your Vehicle Conﬁgura on. If you make changes to your order, you may be subject to poten al price increases for any pricing adjustments made since
your original Order Date. Any changes made by you to your Vehicle Conﬁgura on, including changes to the delivery loca on or es mated delivery date,
will be reﬂected in a subsequent Vehicle Conﬁgura on that will form part of this Agreement. When you take delivery of the Vehicle, we will provide a
credit to the ﬁnal order price of your Vehicle equivalent to the amount of the Order Payment you paid. This Order Payment and this Agreement are not
made or entered into in an cipa on of or pending any condi onal sale contract.

Delivery. If you are picking up your Vehicle in a state where we are licensed to sell the Vehicle, we will no fy you of when we expect your Vehicle to be
ready for delivery at your local Tesla Delivery Center, or other loca on as we may agree to. You agree to schedule and take delivery of your Vehicle within
one week of this date. If you are unable to take delivery within the speciﬁed period, your Vehicle may be made available for sale to other customers.

If you wish to pick up your Vehicle in a state where we are not licensed to sell the Vehicle, or if you and Tesla otherwise agree, Tesla will, on your behalf,
coordinate the shipment of your Vehicle to you from our factory in California or another state where we are licensed to sell the Vehicle. In such a case,
you agree that this is a shipment contract under which Tesla will coordinate the shipping of the Vehicle to you via a third-party common carrier. You agree
that delivery of the Vehicle, including the transfer of tle and risk of loss to you, will occur at the me your Vehicle is loaded onto the common carrier’s
transport (i.e., FOB shipping point). The carrier will insure your Vehicle while in transit and you will be the beneﬁciary of any claims for damage to the
Vehicle or losses occurring while the Vehicle is in the possession of a common carrier.

The es mated delivery date of your Vehicle, if provided, is only an es mate as we do not guarantee when your Vehicle will actually be delivered. Your
actual delivery date is dependent on many factors, including your Vehicle's conﬁgura on and manufacturing availability. To secure your ﬁnal payment and
performance under the terms of this Agreement, we will retain a security interest in the Vehicle and all proceeds therefrom un l your obliga ons have
been fulﬁlled.

Privacy Policy; Payment Terms for Services; Supercharger Fair Use Policy. Tesla's Customer Privacy Policy; Payment Terms for Services and Supercharger Fair
Use Policy are incorporated into this Agreement and can be viewed at www.tesla.com/about/legal.




Motor Vehicle Order Agreement (v. 20190523 en_US)
Tesla, Inc. ©2019                                                                                                                                    Page 2 of 4
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 Agreement to Arbitrate. Please carefully read this provision, which applies to any dispute between you and Tesla, Inc. and its aﬃliates, (together “Tesla”).

 If you have a concern or dispute, please send a wri en no ce describing it and your desired resolu on to resolu ons@tesla.com.

 If not resolved within 60 days, you agree that any dispute arising out of or rela ng to any aspect of the rela onship between you and Tesla will not be
 decided by a judge or jury but instead by a single arbitrator in an arbitra on administered by the American Arbitra on Associa on (AAA) under its
 Consumer Arbitra on Rules. This includes claims arising before this Agreement, such as claims related to statements about our products.

 We will pay all AAA fees for any arbitra on, which will be held in the city or county of your residence. To learn more about the Rules and how to begin
 an arbitra on, you may call any AAA oﬃce or go to www.adr.org.

 The arbitrator may only resolve disputes between you and Tesla, and may not consolidate claims without the consent of all par es. The arbitrator
 cannot hear class or representa ve claims or requests for relief on behalf of others purchasing or leasing Tesla vehicles. In other words, you and Tesla
 may bring claims against the other only in your or its individual capacity and not as a plain ﬀ or class member in any class or representa ve ac on. If a
 court or arbitrator decides that any part of this agreement to arbitrate cannot be enforced as to a par cular claim for relief or remedy, then that claim
 or remedy (and only that claim or remedy) must be brought in court and any other claims must be arbitrated.

 If you prefer, you may instead take an individual dispute to small claims court.

 You may opt out of arbitra on within 30 days a er signing this Agreement by sending a le er to: Tesla, Inc.; P.O. Box 15430; Fremont, CA 94539-
 7970, sta ng your name, Vehicle Iden ﬁca on Number, and intent to opt out of the arbitra on provision. If you do not opt out, this agreement to
 arbitrate overrides any diﬀerent arbitra on agreement between us, including any arbitra on agreement in a lease or ﬁnance contract.

Warranty. You will receive the Tesla New Vehicle Limited Warranty or the Tesla Used Vehicle Limited Warranty, as applicable, at or prior to the me of
Vehicle delivery or pickup. You may also obtain a wri en copy of your warranty from us upon request or from our website.

Limita on of Liability. We are not liable for any incidental, special or consequen al damages arising out of this Agreement. Your sole and exclusive remedy
under this Agreement will be limited to reimbursement of your Order Payment.

No Resellers; Discon nua on; Cancella on. Tesla and its aﬃliates sell cars directly to end-consumers, and we may unilaterally cancel any order that we
believe has been made with a view toward resale of the Vehicle or that has otherwise been made in bad faith. We may also cancel your order and refund
your Order Payment if we discon nue a product, feature or op on a er the me you place your order or if we determine that you are ac ng in bad
faith.

Governing Law; Integra on; Assignment. The terms of this Agreement are governed by, and to be interpreted according to, the laws of the State in which
we are licensed to sell motor vehicles that is nearest to your address indicated on your Vehicle Conﬁgura on. Prior agreements, oral statements,
nego a ons, communica ons or representa ons about the Vehicle sold under this Agreement are superseded by this Agreement. Terms rela ng to the
purchase not expressly contained herein are not binding. We may assign this Agreement at our discre on to one of our aﬃliated en es.

State-Speciﬁc Provisions. You acknowledge that you have read and understand the provisions applicable to you in the State-Speciﬁc Provisions
a achment to this Agreement.

This Agreement is entered into and eﬀec ve as of the date you accept this Agreement, by electronic means or otherwise. By conﬁrming and accep ng this
Agreement, you agree to the terms and condi ons of this Agreement.




Motor Vehicle Order Agreement (v. 20190523 en_US)
Tesla, Inc. ©2019                                                                                                                                   Page 3 of 4
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                                                            State Speciﬁc Provisions



 For NEW YORK residents: If the Vehicle is not delivered in accordance with the Agreement within 30 days following the es mated delivery date, you
 have the right to cancel the Agreement and receive a full refund, unless the delay in delivery is a ributable to you.

 For MASSACHUSETTS residents: ATTENTION PURCHASER: All vehicles are WARRANTED as a ma er of state law. They must be ﬁt to be driven safely
 on the roads and must remain in good running condi on for a reasonable period of me. If you have signiﬁcant problems with the Vehicle or if it will
 not pass a Massachuse s inspec on, you should no fy us immediately. We may be required to ﬁx the car or refund your money. THIS WARRANTY IS
 IN ADDITION TO ANY OTHER WARRANTY GIVEN BY US.


 For WASHINGTON, D.C. residents:

                                                             NOTICE TO PURCHASER

 IF, AFTER A REASONABLE NUMBER OF ATTEMPTS, THE MANUFACTURER, ITS AGENT, OR AUTHORIZED DEALER IS UNABLE TO REPAIR OR
 CORRECT ANY NON-CONFORMITY, DEFECT, OR CONDITION WHICH RESULTS IN SIGNIFICANT IMPAIRMENT OF THE MOTOR VEHICLE, THE
 MANUFACTURER, AT THE OPTION OF THE CONSUMER, SHALL REPLACE THE MOTOR VEHICLE WITH A COMPARABLE MOTOR VEHICLE, OR
 ACCEPT RETURN OF THE MOTOR VEHICLE FROM THE CONSUMER AND REFUND TO THE CONSUMER THE FULL PURCHASE PRICE,
 INCLUDING ALL SALES TAX, LICENSE FEES, REGISTRATION FEES, AND ANY SIMILAR GOVERNMENT CHARGES. IF YOU HAVE ANY QUESTIONS
 CONCERNING YOUR RIGHTS, YOU MAY CONTACT THE DEPARTMENT OF CONSUMER AND REGULATORY AFFAIRS.

 Seller cer ﬁes that the informa on contained in the itemiza on of the purchase price, including the Vehicle Conﬁgura on, and required by Chapter 3
 (Buying, Selling and Financing Motor Vehicles) of Title 16 of the Code of D.C. Municipal Regula ons, is true to the best of our knowledge.



 For RHODE ISLAND residents: Rhode Island law requires that all motor vehicles sold at retail must be in such condi on as to pass a State safety
 inspec on at the me of sale so as to protect consumers.




Motor Vehicle Order Agreement (v. 20190523 en_US)
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               EXHIBIT 2 TO
            TESLA’S MOTION TO
           COMPEL ARBITRATION
          AND STAY PROCEEDINGS
           WITH INCORPORATED
          MEMORANDUM OF LAW

                     BACHE v. TESLA
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                                                  Delivery Declaration


                                                  VEHICLE DESCRIPTION
                         Year/Model                     Buyer Name/s                VIN

                                                       christopher g bache
                       2019 / Model X                                        5YJXCBE28LF213960


      BY SIGNING BELOW YOU AGREE THAT YOU HAVE TAKEN DELIVERY OF YOUR Model X ON OR
      BEFORE    IQ Lz/l     AND THAT YOU AGREE WITH YOUR FINAL MOTOR VEHICLE
      PURCHASE AGREE (TIENT, WHICH HAS BEEN UPLOADED TO AND IS AVAILABLE IN YOUR
      MYTESLAACCOUNT




      Name of Buyer or Buyer’s Agent               'ery (please print):

      Signed:

      On behalf of:                                                                  [Buyer Name/s]

      Date:       |Q 1             H



      Delivery Experience Specialist Signature:




Deliveiy Declaration v. 20120403
■‘2018 Tesla Motors. Inc.
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               EXHIBIT 3 TO
            TESLA’S MOTION TO
           COMPEL ARBITRATION
          AND STAY PROCEEDINGS
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                T
               T=5L'FI




                                                  MODEL S
                                                  MODEL X
                                                  MODEL 3

                          NEW VEHICLE LIMITED WARRANTY




                                       UNITED STATES AND CANADA
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             property rights of Tesla. Inc. and its licensors. This material may not be modified, reproduced or copied, in
             whole or in part, without the prior written permission of Tesla, Inc. and its licensors. Additional information
             is available upon request. The following are trademarks or registered trademarks of Tesla, Inc. in the
             Unitecl States and other countries:

              TESLA TESLA MOTORS           MODELS MODEL X
                                           ROADSTER MODEL 3
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              General Warranty Provisions                                                             2
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              Basic Vehicle Limited Warranty                                                           4
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             Tesla, Inc. ("Tesla") will provide repairs to the vehicle during the applicable warranty period in
             accordance with the terms, conditions and limitations defined in this New Vehicle Limited
             Warranty.


             Who is the Warrantor?
             Vehicles registered in the U.S.:
             Tesla, Inc.
             Attention: New Vehicle Limited Warranty
             P.O. Box 15430
             Fremont, CA 94539
             Phone number: 1-877-79-TESLA (1-877-798-3762)

             Vehicles registered in Canada:
             Tesla Motors Canada ULC
             1325 Lawrence Ave East
             Toronto, ON M3A 106
             Attention: Vehicle Service
             Phone number:1-877-79-TESLA (1-877-798-3752)


             What Vehicles are Covered?
             This New Vehicle Limited Warranty applies to vehicles sold by Tesla in the North America
             Warranty Region. For purposes of this New Vehicle Limited Warranty, the Tesla North America
             Warranty Region is defined as all 50 states of the United States of America, the District of
             Columbia, and all 13 provinces and territories of Canada, provided that you must return to the
             North America Warranty Region in order to receive warranty service. Any subsequent purchasers
             or transferees must return to the North America Warranty Region in order to obtain warranty
             service regardless of the country in which such purchaser or transferee may have purchased the
             vehicle.


             Multiple Warranty Conditions
             This New Vehicle Limited Warranty contains warranty terms and conditions that may vary
             depending on the part or system covered. A warranty for specific parts or systems is governed by
             the coverage set forth in that warranty section as well as other provisions in this New Vehicle
             Limited Warranty.

             Limitations and Disclaimers
             THIS NEW VEHICLE LIMITED WARRANTY IS THE ONLY EXPRESS WARRANTY MADE IN
             CONNECTION WITH YOUR TESLA VEHICLE. Implied and express warranties and conditions
             arising under applicable state or provincial laws or federal statute or otherwise in law or in equity,
             if any, including, but not limited to, implied warranties and conditions of merchantability or
             merchantable quality, fitness for a particular purpose, durability, or those arising by a course of
             dealing or usage of trade, are disclaimed to the fullest extent allowable by law, or limited in '
             duration to the term of this New Vehicle Limited Warranty. Some states or provinces do not allow
             limitations on implied warranties or conditions and/or how long an implied warranty or condition
             lasts, so the above limitations may not apply to you.
             The performance of necessary repairs and parts replacement by Tesla is the exclusive remedy
             under this New Vehicle Limited Warranty or any implied warranties. Tesla does not authorize any
             person or entity to create for it any other obligations or liability in connection with this New
             Vehicle Limited Warranty. The decision of whether to repair or replace a part or to use a new,
             reconditioned, or remanufactured part will be made by Tesla, in its sole discretion.




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                 Arbitration of Disputes (U.S. Only)
                 Any dispute, claim or controversy between you and Tesla arising out of, or related to, this New
                 Vehicle Limited Warranty is subject to binding arbitration on an individual basis in accordance
                 with the terms of the Agreement to Arbitrate in your Vehicle Order Agreement and reproduced in
                 the section Warranty Enforcement Laws and Dispute Resolution on page 11 of this New Vehicle
                 Limited Warranty.


                 Your Rights Under Local Law
                 This New Vehicle Limited Warranty gives you specific legal rights. You may also have other rights
                 that vary by state or province.

                 Ownership Transfer
                 This New Vehicle Limited Warranty is transferable at no cost to any person(s) who subsequently
                 and lawfully'assume(s) ownership of the vehicle after the first retail purchaser within the
                 described limitations of this New Vehicle Limited Warranty ("subsequent purchaser").

                 Who Can Enforce this New Vehicle Limited Warranty?
                 The first retail purchaser, or subsequent purchaser, of a new vehicle sold in the Tesla North
                 America Warranty Region, titled or registered in the name of the first retail purchaser, or
                 subsequent purchaser, according to the laws of the 50 states of the United States of America, the
                 District of Columbia, or Canada, can enforce this New Vehicle Limited Warranty subject to the
                 terms of this New Vehicle Limited Warranty.

                 When Does the Warranty Period Begin and End?
                 This New Vehicle Limited Warranty begins on the first day a new vehicle is delivered by Tesla to
                 the first retail or corporate purchaser(s), and provides coverage for the period based on the
                 specified warranty as described in the Warranty Coverage section of this New Vehicle Limited
                 Warranty. Parts repaired or replaced, including replacement of the vehicle, under this New Vehicle
                 Limited Warranty are covered only until the applicable warranty period of this New Vehicle
                 Limited Warranty ends, or as otherwise provided by applicable law.




         General Warranty Provisions
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           This New Vehicle Limited Warranty includes the Basic Vehicle Limited Warranty, the Supplemental
           Restraint System ("SRS") Limited Warranty, and the Battery and Drive Unit Limited Warranty, each
           as described below.
           Without prejudice to any other consumer's rights provided by law, the exclusive remedy available
           to you under this New Vehicle Limited Warranty is the repair or replacement of new or re-
           manufactured parts by Tesla for the covered defects. Subject to the exclusions and limitations
           described in this New Vehicle Limited Warranty, such repair or parts replacement will be
           performed without cost to you by Tesla when Tesla is notified of the covered defect within the
           applicable warranty period. Repairs will be performed using new, reconditioned, or re-
           manufactured parts at the sole discretion of Tesla. All replaced parts or other components are the
           exclusive property of Tesla unless otherwise provided under applicable law.

           Basic Vehicle Limited Warranty
           Subject to separate coverage for certain parts and the exclusions and limitations described in this
           New Vehicle Limited Warranty, the Basic Vehicle Limited Warranty covers the repair or
           replacement necessary to correct defects in the materials or workmanship of any parts
           manufactured or supplied by Tesla that occur under normal use for a period of 4 years or 50,000
           miles (80,000 km). whichever comes first.

           Supplemental Restraint System Limited. Warranty
           Subject to the exclusions and limitations described in this New Vehicle Limited Warranty, the SRS
           Limited Warranty covers the repair or replacement necessary to correct defects in the materials or
           workmanship of the vehicle's seat belts or air bag system manufactured or supplied by.Tesla that
           occur under normal use for a period of 5 years or 60,000 miles (100,000 km), whichever comes
           first.

           Battery and Drive Unit Limited Warranty
           The Tesla lithium-ion battery (the "Battery") and Drive Unit are extremely sophisticated powertrain
           components designed to withstand extreme driving conditions. You can rest easy knowing that
           Tesla's state-of-the-art Battery and Drive Unit are backed by this Battery and Drive Unit Limited
           Warranty, which covers the repair or replacement of any malfunctioning or defective Battery or
           Drive Unit, subject to the limitations described below.
           If your Battery or Drive Unit requires warranty repair, Tesla will repair the unit, or replace it with a
           new, reconditioned or remanufactured part at the sole discretion of Tesla. The warranty
           replacement may not restore the vehicle to a "like new" condition, but when replacing a Battery,
           Tesla will ensure that the energy capacity of the replacement Battery is at least equal to that of
           the original Battery before the failure occurred while taking into consideration other factors,
           including the age and mileage of the vehicle.
           To provide you with even more assurance, this Battery and Drive Unit Limited Warranty will also
           cover damage to your vehicle from a Battery fire even if it is the result of driver error. (Coverage
           will not extend to damage that had already been sustained before a Battery fire occurred, or to
           any damage if the Battery fire occurred after your vehicle had already been totaled.)
           Your vehicle's Battery and Drive Unit are covered under this Battery and Drive Unit Limited
           Warranty for a period of:
           •   Model S and Model X - 8 years (with the exception of the original 60 kWh battery
               manufactured before 2015 that is covered for a period of 8 years or 125,000 miles/200,000
               km, whichever comes first).
           •   Model 3 with Standard or Mid-Range Battery - 8 years or 100,000 miles (160,000 km),
               whichever comes first, with minimum 70% retention of Battery capacity over the warranty
               period.
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                 •   Model 3 with Long Range Battery - 8 years or 120,000 miles (192,000 km), whichever comes
                     first, with minimum 70% retention of Battery capacity over the warranty period.
                  For warranty claims specific to Battery capacity, the replacement Battery will be in a condition
                 appropriate to the age and mileage of the vehicle sufficient to achieve or exceed the minimum
                 Battery capacity for the remainder of the warranty period of the original Battery. Note that the
                 vehicle's range estimafes are an imperfect measure of Battery capacity because they are affected
                 by additional factors separate from Battery capacity. The measurement method used to determine
                 Battery capacity, and the decision of whether to repair, replace, or provide reconditioned or
                 remanufactured parts, and the condition of any such replaced, reconditioned or remanufactured
                 parts, are at the sole discretion of Tesla.
                 Despite the breadth of this warranty, damage resulting from intentional actions (including
                 intentionally abusing or destroying your vehicle or ignoring active vehicle warnings or service
                 notifications), a collision or accident (excluding from Battery fires as specified above), or the
                 servicing or opening of the Battery or Drive Unit by non-Tesla or non-certified personnel, is not
                 covered under this Battery and Drive Unit Limited Warranty.
                In addition, the Drive Unit is subject to the exclusions and limitations described in this New Vehicle
                Limited Warranty. Damage to the Battery resulting from the following activities is also not covered
                under this Battery and Drive Unit Limited Warranty:
                     Damaging the Battery, or intentionally attempting, either by physical means, programming, or
                     other methods, to extend (other than as specified in your owner documentation) or reduce
                     the life of the Battery;
                     Exposing the Battery to direct flame (excluding from Battery fires as specified above); or
                     Flooding the Battery.
                The Battery, like all lithium-ion batteries, will experience gradual energy or power loss with time
                and use. Loss of Battery energy or power over time or due to or resulting from Battery usage is
                NOT covered under this Battery and Drive Unit Limited Warranty, except to the extent specified in
                this Battery and Drive Unit Limited Warranty. See your owner documentation for important
                information on how to maximize the life and capacity of the Battery.




         Warranty Coverage
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             Warranty Limitations ,
             This New Vehicle Limited Warranty does not cover any vehicle damage or malfunction directly or
             indirectly caused by, due to or resulting from normal wear or deterioration, abuse, misuse, -
             negligence, accident, improper maintenance, operation, storage or transport, including, but not•
             limited to, any of the following:
                 Failure to take the vehicle to, or make repairs or service recommended by, a Tesla Service
                 Center or Tesla authorized repair facility upon discovery of a defect covered by this New
                 Vehicle Limited Warranty;
                 Accidents, collisions, or objects striking the vehicle;
                 Any repair, alteration or modification of the vehicle that was made inappropriately, or the
                 installation or use of fluids, parts or accessories, made by a person or facility not authorized or
                 certified to do so;
                 Improper repair or maintenance, including use of fluids, parts or accessories other than those
                 specified in your owner documentation;
                 Any damage to your vehicle's hardware or software, or any loss or harm to any personal
                 information/data uploaded to your vehicle resulting from unauthorized access to vehicle data
                 or software from any source, including non-Tesla parts or accessories, 3rd party applications,
                 viruses, bugs, malware, or any other form of interference or cyber attack;
                 Towing the vehicle;
                 Improper winch procedures;
                 Theft, vandalism, or riot;
                 Fire, explosion, earthquake, windstorm, lightning, hail, flood, or deep water;
                 Driving off-road (applies only to Model S and Model 3);
                 Driving over uneven, rough, damaged or hazardous surfaces, including but not limited to,
                 curbs, potholes, unfinished roads, debris, or other obstacles, or in competition, racing or
                 autocross or for any other purposes for which the vehicle is not designed;
                 Overloading the vehicle;
                 Using the vehicle as a stationary power source; and
                 The environment or an act of God, including, but not limited to, exposure to sunlight, airborne
                 chemicals, tree sap, animal or insect droppings, road debris (including stone chips), industry
                 fallout, rail dust, salt, hail, floods, wind storms, acid rain, fire, water, contamination, lightning
                 and other environmental conditions.

             Additional Limitations and Exclusions
             In addition to the above exclusions and limitations, this New Vehicle Limited Warranty does NOT
             cover:
                 Any corrosion or paint defects including, but not limited to, the following:
                     Corrosion from defects in non-Tesla manufactured or supplied materials or workmanship
                     causing perforation (holes) in body panels or the chassis from the inside out;
                     Surface or cosmetic corrosion causing perforation in body panels or the chassis from the
                     outside in, such as stone chips or scratches;
                     Corrosion and paint defects caused by, due to, or resulting from accidents, paint
                     matching, abuse, neglect, improper maintenance or operation of the vehicle, installation of
                     an accessory, exposure to chemical substances, or damages resulting from an act of God
                     or nature, fire, or improper storage;
                Non-genuine Tesla parts or accessories or their installation, or any damage directly or
                indirectly caused by, due to, or resulting from, the installation or use of non-genuine Tesla
                parts or accessories;




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                      Parts, accessories and charging equipment that were not included in the purchase of the
                      vehicle; these items have their own warranties and are subject to their own terms and
                      conditions, which will be provided to you as applicable;
                      Tires, which have their own warranties and are subject to their own terms and conditions,
                      which will be provided to you as applicable;
                      Windshield or window glass that is broken, chipped, scratched, or cracked, other than as a
                      result of a defect in material or workmanship of a Tesla manufactured or supplied windshield
                      or window glass;
                      General appearance or normal noise and vibration, including, but not limited to, brake squeal,
                      general knocks, creaks, rattles, and wind and road vibration; and
                      Maintenance services, including, but not limited to, the following:
                      •    Wheel alignment or balancing;
                      •   -Appearance care (such as cleaning and. polishing); and
                      •    Expendable maintenance items (such as wiper blades/inserts, brake pads/linings, filters,
                           etc.).

                  Voided Warranty
                  You are responsible for the proper operation of the vehicle and for receiving and maintaining
                  detailed and accurate records of your vehicle's maintenance, including the 17-digit Vehicle
                  Identification Number ("VIN"), servicing center name and address, mileage, date of service or
                  maintenance and description of service or maintenance items, which should be transferred to
                  each subsequent purchaser. You may void this New Vehicle Limited Warranty if you do not follow
                  the specific instructions and recommendations regarding the use and operation of the vehicle
                  provided in your owner documentation, including, but not limited to:
                  •   Installing the vehicle's software updates after notification that there is an update available;
                  •   Complying with any recall advisories;
                  •   Carrying passengers and cargo within specified load limits; and
                  •   Making all repairs.
                  Although Tesla does not require you to perform all service or repairs at a Tesla Service Center or
                  Tesla authorized repair facility, this New Vehicle Limited Warranty may be voided or coverage may
                  be excluded due to improper maintenance, service or repairs. Tesla Service Centers and Tesla
                  authorized repair facilities have special training, expertise, tools and supplies with respect to your
                  vehicle and, in certain cases, may employ the only persons or be the only facilities authorized or
                  certified to work on certain parts of your vehicle. Tesla strongly recommends that all maintenance,
                  service and repairs be done at a Tesla Service Center or Tesla authorized repair facility in order to
                  avoid voiding, or having coverage excluded under, this New Vehicle Limited Warranty.
                  The following will also void this New Vehicle Limited Warranty:
                  •   Vehicles that have had the VIN defaced or altered or the odometer or other related system
                      disconnected, altered or rendered inoperative so that it is difficult to determine the VIN
                      number or actual mileage;
                  •   Vehicles that have been designated, labeled or branded as dismantled, fire-damaged, flood-
                      damaged, junk, rebuilt, salvage, reconstructed, irreparable or a total loss; and
                  •   Vehicles that have been determined to be a total loss by an insurance company.


                  Damages
                  Tesla hereby disclaims any and all indirect, incidental, special and consequential damages arising
                  out of or relating to your vehicle, including, but not limited to, transportation to and from a Tesla
                  Service Center, loss of vehicle value, loss of time, loss of income, loss of use, loss of personal or
                  commercial property, inconvenience or aggravation, emotional distress or harm, commercial loss
                  (including but not limited to lost profits or earnings), towing charges, bus fares, vehicle rental,




          Exclusions and Limitations




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              service call charges, gasoline expenses, lodging expenses, damage to tow vehicle, and incidental
              charges such as telephone calls, facsimile transmissions, and mailing expenses.
              Tesla shall not be liable for any direct damages in an amount that exceeds the fair market value of
              the vehicle at the time of the claim.
               The above limitations and exclusions shall apply whether your claim is in contract, tort (including
               negligence and gross negligence), breach of warranty or condition, misrepresentation (whether
               negligent or otherwise) or otherwise at law or in equity, even if Tesla is advised of the possibility
             . of such damages or such damages are reasonably foreseeable. In jurisdictions that do not allow
               the exclusion or limitation of indirect, direct, special, incidental or consequential damages, the
               above limitations or exclusions may not apply to you.




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                 To obtain warranty service, you must notify Tesla within the applicable warranty period, and
                 deliver the vehicle, at your expense (except where Tesla is obligated to undertake towing), during
                 regular business hours to a Tesla Service Center of your choice. The location of the nearest Tesla
                 Service Center may be obtained by visiting www.tesla.com if you are in the U.S. or Canada. The
                 location of Tesla Service Centers is subject to change at anytime. The updated list of service
                 centers is and will remain published at www.tesla.com.
                 When you contact Tesla, please be prepared to provide the Vehicle Identification Number (VIN),
                 current mileage, and a description of the defect. The VIN, located on the upper dashboard on the
                 driver's side of the vehicle, is visible through the windshield. It is also available on the vehicle
                 registration and title documentation.
                 In the event of a change of your address, please contact Tesla at the address or phone number
                 specified in the Who is the Warrantor? section of this New Vehicle Limited Warranty.

                 Payment of Tax for Repairs
                 Some jurisdictions and/or local governments may require that tax be collected on warranty
                 repairs. Where applicable law allows, you are responsible for payment of these taxes.

                 Reasonable Time for Repairs
                 You must allow Tesla a reasonable time for completion of repairs and/or service, as estimated and
                 communicated to you in writing by Tesla. Upon notification by Tesla of the completion of the
                 vehicle repairs and/or service, you are responsible for immediately picking up the vehicle, at your
                 own expense.

                 Roadside Assistance
                 Tesla Roadside Assistance is a service intended to minirnize inconvenience when your Tesla vehicle
                 isinoperable. This service is available to you 24/7 by calling 877-798-3752. For vehicle
                 malfunctions due to warrantableissues, transportation services, provided by Roadside Assistance,
                 are covered by Teila for the first 500 miles (800 km) to the nearest Tesla Service Center. You are
                 responsible for transportation costs beyond 500 miles (860 km) or any additional transportation
                 from such locations to any additional location. The vehicle must be covered by a Tesla New
                 Vehicle, Used Vehicle, or Used Vehicle Extended Limited Warranty and located in the North
                 America Region at the time Roadside Assistance is requested; however, Roadside Assistance is a
                 separate service and is not provided under a Tesla New Vehicle, Used Vehicle, or Used Vehicle
                 Extended Limited Warranty. Flat tires are not covered under warranty; however Tesla will cover the
                 cost of a tow, provided by Roadside Assistance, for the first 50 miles (80 km) to the nearest Tesla
                 Service Center, while the vehicle is covered by a Tesla New Vehicle, Used Vehicle, or Used Vehicle
                 Extended Limited Warranty. The cost of towing for a flat tire beyond 50 miles (80 km) and the
                 cost of the replacement tire(s) are at your expense. Please refer to our Roadside Assistance policy
                 for full details and disclosures.

                 Modifications and Waivers
                 No person or entity, including, but not limited to, a Tesla employee or authorized representative,
                 can modify or waive any part of this New Vehicle Limited Warranty. Tesla may occasionally offer
                 to pay a portion or all of the cost of certain repairs that are no longer covered by this New Vehicle
                 Limited Warranty for specific vehicle models, which some states may refer to as "adjustment
                 programs." In such circumstances, Tesla will notify'all known registered owners of affected
                 vehicles. You may also inquire to Tesla directly regarding the applicability of such programs, if any,
                 to your vehicle. Tesla may also occasionally offer to pay a portion or all of the cost of certain
                 vehicle repairs that are no longer covered by this New Vehicle Limited Warranty on an ad hoc
                 case-by-case basis. Tesla reserves the right to do the above and to make changes to vehicles
                 manufactured or sold by Tesla and the applicable warranties, at any time, without incurring any
                 obligation to make the same or similar payment or changes for vehicles Tesla previously




         Obtaining Warranty Service                                                                                       9
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              manufactured or sold, or applicable warranties including this New Vehicle Limited Warranty.
              Nothing herein shall imply that any Tesla vehicle is free of defects.




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                 In the U.S., the Magnuson-Moss Warranty Act is the federal law which governs this New Vehicle
                 Limited Warranty. Many jurisdictions have laws, commonly called "Lemon Laws," that provide you
                 with certain rights if you have problems with your new vehicle. These laws vary depending on the
                 state, province or territory. Your new vehicle and its safety items comply with applicable provincial
                 and territorial motor vehicle laws.
                 To the fullest extent allowed by the law of your jurisdiction, Tesla requires that you first provide
                 Tesla, during the applicable warranty period specified in this New Vehicle Limited Warranty, with
                 written notification of any defects you have experienced within a reasonable time to allow Tesla an
                 opportunity to make any needed repairs before you pursue any remedy under these laws.
                 Please send your written notification to:

                 Vehicles registered in the U.S.:
                 Tesla, Inc.
                 Attention: New Vehicle Limited Warranty
                 P.O. Box 15430
                 Fremont, CA 94539
                 Phone number:1-877-79-TESLA (1-877-798-3752)

                 Vehicles registered in Canada:
                 Tesla Motors Canada ULC
                 1325 Lawrence Ave East
                 Toronto, ON M3A1C6
                 Attention: Vehicle Service
                 Phone number:1-877-79-TESLA (1-877-798-3752)

                 Please include the following information:
                 •   Your name and contact information;
                 •   VIN;
                 •   Name and location of the Tesla Store and/or Tesla Service Center nearest you;
                 •   Current mileage;
                 •   Description of the defect; and,
                 •   History of the attempts you have made with a Tesla Store or a Tesla representative to resolve
                     the concern, or of any repairs or services that were not performed by a Tesla Service Center or
                     Tesla authorized repair facility.

                 Dispute Resolution (Canada Only)
                 The description provided in the following sections summarize the dispute settlement program
                 administered by NCDS and applies to U.S. customers only. Customers with vehicles registered in
                 Canada will be referred by NCDS to the Canadian Motor Vehicle Arbitration Program ("CAMVAP")
                 and subject to CAMVAP procedures and remedies, which differ from those described in the
                 following section. The dispute settlement program may be changed at any time without prior
                 notice. Contact NCDS at the below listed address or phone number for the most current
                 information concerning the dispute settlement program.

                 Dispute Resolution (U.S. Only)
                 In the event any disputes, differences or controversies arise between you and Tesla related to this
                 New Vehicle Limited Warranty, Tesla will explore all possibilities for an amicable settlement. In
                 case an amicable settlement is not reached, Tesla offers a dispute settlement program that
                 proceeds in two steps.
                 First, if you choose, you may submit your dispute to an optional dispute settlement program
                 through the National Center for Dispute Settlement ("NCDS").




         Warranty Enforcement Laws and Dispute Resolution                                                                11
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               Second, if you prefer not to submit your dispute to the NCDS, or if you are not satisfied with the
               outcome of the NCDS procedure, you agree to resolve your dispute with Testa through binding
               arbitration or small claims court under the terms of the Agreement to Binding Arbitration that
               appears below.      '


               Optional Dispute Resolution Through the National Center for Dispute
               Settlement (NCDS) (U.S. Only)
               In the event that an amicable settlement is not reached, Testa offers an Optional dispute
               settlement program through:

               NATIONAL CENTER FOR DISPUTE SETTLEMENT ("NCDS")
               P.O. Box 526 '
               Mt. Clemens, MI 48046
               1-866-629-3204

               This dispute settlement program administered by NCDS is free of charge to you and is conducted
               by local NCDS professionals who are trained and experienced in mediation and arbitration.
               NCDS resolves disputes involving this New Vehicle Limited Warranty which arise during the
               applicable warranty period specified in this New Vehicle Limited Warranty. However, NCDS will not
               arbitrate claims involving a vehicle used primarily for commercial purposes unless the "Lemon
               Law" of your state covers (1) vehicles used for commercial purposes, or (2) claims that an air bag
               failed to deploy or deployed when it should not have. You must file a request for arbitration with
               NCDS within 60 days (or 6 months in certain jurisdictions) of the expiration of the applicable
               warranty period, provided you sent written notice to Tesla,)as specified above, of the alleged
               defect during the applicable warranty period.
               To initiate arbitration, you must contact NCDS at 1-866-629-3204 or P.O. Box 526, Mt. Clemens, MI
               48046, and complete an NCDS customer claim form and mail it to NCDS. Please also provide a
               copy of your written notification sent to Testa and/or all information required in such notification
               specified above, your desired resolution, and all receipts if requesting reimbursement. Upon
               receipt of your request, NCDS will contact you regarding the status of your case and provide you
               with additional details about the program.
               NCDS may only resolve disputes between you and Testa on an individual basis. In other words, you
               may initiate an arbitration against Testa through NCDS only in your individual capacity and not as
               a plaintiff or class member in any class or representative action.
               When NCDS receives your request, it will be forwarded to Testa for response. After analyzing all •
               information pertaining to your case. NCDS will schedule a technical evaluation if applicable. If you
               request it, an oral hearing will be held prior to a decision being rendered. At this hearing, all
               evidence is admissible. After considering all testimony and document, the arbitrator will review
               the applicable legal standards and render a decision. A settlement satisfactory to all parties may
               be negotiated at any time, including prior to or after the arbitrator's decision.
               NCDS's decision is binding on Testa but not on you. If you accept NCDS's decision, Testa will
               comply with the decision in a reasonable time not to exceed 30 days after Testa receives notice of
               your acceptance. Remedies include but are not limited to repairs; reimbursement for repairs and
               incidental expenses, such as transporting costs; and repurchase or replacement of your vehicle.
               NCDS decisions do not include attorney fees or punitive, multiple, or consequential damages,
               except incidental damages as required by applicable law.
               If you are not satisfied with the arbitrator's decision or Tesla's compliance, you may pursue, your
               claim in binding arbitration on an individual basis in accordance with the Agreement to Binding
               Arbitration below.

               Agreement to Binding Arbitration (U.S. Only)
               All disputes not resolved by NCDS will be arbitrated under the terms of the Agreement to
               Arbitrate in your Vehicle Order Agreement. Under that Agreement, you agreed to resolve disputes



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                 with Tesla by arbitration rather than by litigation in court. Please see the Vehicle Order Agreement
                 for more details. If you prefer not to submit your dispute to NCDS, you may proceed directly to
                 binding arbitration or small claims court under the terms of the Vehicle Order Agreement. For
                 your convenience, the Agreement to Arbitrate is reproduced here:

                  Agreement to Arbitrate. Please carefully read this provision, which applies to any dispute
                  between you and Tesla, Inc. and its affiliates (together "Tesla").
                  If you have a concern or dispute, please send a written notice describing it and your desired
                  resolution to resolutions@tesla.com.
                  If not resolved within 60 days, you agree that any dispute arising out of or relating to any aspect
                  of the relationship between you and Tesla will not be decided by a judge or jury but instead by a
                  single arbitrator in an arbitration administered by the American Arbitration Association (AAA)
                  under its Consumer Arbitration Rules. This includes claims arising before this Agreement, such
                  as claims related to statements about our products.
                  We will pay all AAA fees for any arbitration, which will be held in the city or county of your
                  residence. To learn more about the rules and how to begin an arbitration, you may call any AAA
                  office or go to www.adr.org.
                  The arbitrator may only resolve disputes between you and Tesla and may not consolidate claims
                  without the consent of all parties. The arbitrator cannot hear class or representative claims or
                  requests for relief on behalf of others purchasing or leasing Tesla vehicles. In other words, you
                  and Tesla may bring claims against the other only in your or. its individual capacity and not as a
                  plaintiff or class member in any class or representative action. If a court or arbitrator decides
                  that any part of this agreement to arbitrate cannot be enforced as to a particular claim for relief
                  or remedy (such as injunctive or declaratory relief), then that claim or remedy (and only that
                  claim or remedy) shall be severed and must be brought in court and any other claims must be
                  arbitrated.
                 If you prefer, you may instead take an individual dispute to small claims court.
                 You may opt out of arbitration within 30 days after signing this Agreement by sending a letter
                 to: Tesla, Inc.; P.O. Box 15430; Fremont, CA 94539-7970, stating your name, Vehicle
                 Identification Number, and intent to opt out of the arbitration provision. If you do not opt out,
                 this agreement to arbitrate overrides any different arbitration agreement between us, including
                 any arbitration agreement in a lease or finance contract.




         Warranty Enforcement Laws and Dispute Resolution                                                               13
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               EXHIBIT 4 TO
            TESLA’S MOTION TO
           COMPEL ARBITRATION
          AND STAY PROCEEDINGS
           WITH INCORPORATED
          MEMORANDUM OF LAW

                     BACHE v. TESLA
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       RDRbDCITPIFP¾ISHFQQISHFGRI¾T¿IRF¾IXFcDIFYFGPQEI¿QIGPSH¿ÁGPYIFP¾ICGYXEIETISHFQQIFCbGECFEGTPITCIFP¾
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   f°ÁGQSTcDC¾IFPÁICGYXEQIETIFVVDFHIGPIFCbGECFEGTPIFCDIYDPDCFHH¾IRTCDIHGRGEDÁIEXFPIGPIFIHFaQ¿GEsIFPÁITEXDCICGYXEQ
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